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AO 91 (Rev. 11/11) Criminal Complaint


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                                   District of Columbia

                   United States of America                                     )
                              v.                                                )
                                                                                )        Case No.
    Farbod Azari (AKA: Farbod 'Francis' Azari)
                                                                                )
                DOB: XXXXXX                                                     )
                                                                                )
                                                                                )
                             Defendant(s)


                                                        CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                         January 6, 2021                      in the county of                                           in the
                            in the District of           Columbia          , the defendant(s) violated:

              Code Section                                                                  Offense Description
        18 U.S.C. § 111(a)(1) (Assaulting, Resisting, or Impeding Certain Officers) ,
        18 U.S.C. § 111(b)(1) (Assaulting, Resisting, or Impeding Certain Officers with a Deadly or Dangerous Weapon) ,
        18 U.S.C. § 231(a)(3) (Civil Disorder)
        18 U.S.C. § 1361 (Destruction of Government Property)
        18 U.S.C. § 1751(a)(1) (Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon),
        18 U.S.C. § 1751(b)(1)(A) (Entering and Remaining in a Restricted Building or Grounds with a Deadly or Dangerous Weapon) ,
        18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous Weapon).
        18 U.S.C. § 1752(b)(1) (A) (Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly or Dangerous Weapon)
        18 U.S.C. § 1752(a)(4) (Act of Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon)
        18 U.S.C. § 1752(b)(1)(A) (Act of Physical Violence in a Restricted Building or Grounds with a Deadly or Dangerous Weapon)
        40 U.S.C. § 5104(e)(2)(F) (Act of Physical Violence in the Capitol Grounds or Building )


          This criminal complaint is based on these facts:
  See attached statement of facts.

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              Continued on the attached sheet.


                                                                                                                 Complainant’s signature

                                                                                                      Brittany Ausley, Special Agent
                                                                                                                  Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.
                                                                                                          G. Michael            Digitally signed
                                                                                                                                by G. Michael
Date:              01/13/2023
                                                                                                          Harvey                Harvey
                                                                                                                    Judge’s signature

City and state:                          Washington, D.C.                                      G. Michael Harvey, U.S. Magistrate Judge

                                                                                                                  Printed name and title
